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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


 IN RE NATIONAL PRESCRIPTION                 MDL 2804
 OPIATE LITIGATION                           Case No. 17-md-2804
 This document relates to:                   Hon. Dan Aaron Polster
 Track Eight: Cobb County, Georgia
 Case No. 1:18-op-45817-DAP
 COBB COUNTY,
                 Plaintiff,
        v.
 PURDUE PHARMA, L.P., et al.,
                 Defendants.




             PLAINTIFF’S MEMORANDUM IN SUPPORT OF ITS MOTION
             FOR PARTIAL SUMMARY JUDGMENT THAT PUBLIX SUPER
                  MARKETS, INC. BREACHED ITS DUTIES UNDER
                   THE CONTROLLED SUBSTANCES ACT AND
                 THE GEORGIA CONTROLLED SUBSTANCES ACT




April 26, 2024
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                                       INTRODUCTION

       Plaintiff Cobb County, Georgia (“Plaintiff”) submits this memorandum in support

of its motion for partial summary judgment that Defendant Publix Super Markets, Inc.

(“Publix”) breached its duties under the Controlled Substances Act, 21 U.S.C. §§ 801 et

seq., (“CSA”) and its implementing regulations, and the Georgia Controlled Substances

Act, GA. CODE ANN. § 16-13-20 et seq., (“GCSA”)1 and its implementing regulations, with

respect to the distribution and dispensing of prescription opioids.

       Here, as in Case Track Seven, Plaintiff asks the Court to adopt its own prior rulings

regarding the nature and scope of Publix’s duties under the CSA. This Court has already

addressed the duties of a chain pharmacy regarding both distribution and dispensing of

opioids under the CSA. See In re Nat’l Prescription Opiate Litig., 477 F. Supp. 3d 613 (N.D.

Ohio 2020) (Dkt. 3403) (“In re Nat’l Prescription Opiate Litig. 2020/CT3”), clarified on denial

of reconsideration, No. 1:17-MD-2804, 2020 WL 5642173 (N.D. Ohio Sept. 22, 2020) (Dkt.

3499). In Case Track Seven, this Court granted Montgomery County’s motion for partial

summary judgment on Kroger’s duties under the CSA, holding that the Court’s previous

rulings will be applied unless a party can articulate good cause for not doing so. In re

Nat’l Prescription Opiate Litig., No. 1:17-MD-2804, 2023 WL 2974461, at *1 (N.D. Ohio Apr.

17, 2023) (Dkt. 5000) (“In re Nat’l Prescription Opiate Litig. 2023/CT7”); see also Order




1 The GCSA is based on the Uniform Controlled Substances Act (1970, 1990, and 1994 Acts)

(“UCSA”), which was “drafted to maintain uniformity between the laws of the several States and
those of the federal government.” Unif. Controlled Substances Act (amended 1994), 9 U.L.A. 5,
Pt. II. For readability reasons, Plaintiff will simply refer to Publix’s “CSA duties” throughout this
brief – but to be clear, any violation of the CSA also is a violation of the GCSA.
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Regarding Previously Decided Issues, Dkt. 4978 (Mar. 30, 2023). Here, Publix will not be

able to articulate good cause for not applying this Court’s prior rulings to its conduct as

both a distributor and dispenser of controlled substances.

      Fact discovery is now concluded, and Plaintiff’s expert reports have been served.

Consequently, Plaintiff also asks the Court to find that Publix violated its duties under

the CSA with respect to both the distribution and dispensing of opioids as a matter of

law. As a distributor of controlled substances, Publix was required to maintain effective

controls against diversion. As this Court has held on multiple occasions, that meant that

Publix had to (1) design and operate a system to identify “suspicious orders” of

prescription opioids; (2) not ship those orders unless and until it determined through due

diligence that the order was not likely to be diverted; and (3) report such orders to the

Drug Enforcement Administration (“DEA”) when discovered. Yet the summary

judgment evidence shows that Publix (1) failed to design or operate a suspicious order

monitoring (“SOM”) system capable of identifying suspicious orders; (2) routinely

shipped orders that were, or should have been, flagged as potentially suspicious without

conducting due diligence; and (3) failed to report suspicious orders to the DEA or to the

pertinent local Georgia authorities.

      As a dispenser of controlled substances, Publix was required both to provide

effective controls against diversion and to ensure that only legitimate prescriptions were

dispensed from its stores. As this Court has recognized, “a pharmacy is required to:

(1) collect and maintain specific records and data regarding its dispensing activity;


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(2) employ a properly licensed pharmacist; and (3) properly dispense controlled

substances and avoid diversion.” In re Nat’l Prescription Opiate Litig. 2020/CT3, 477 F.

Supp. 3d at 631; see also id. at 625 (“the CSA explicitly requires pharmacies to collect

prescription data and use it to monitor for questionable prescriptions that might lead to

diversion”). Yet the summary judgment evidence shows that Publix: (1) failed to train its

pharmacists with regard to their responsibilities concerning prescriptions for opioids or

with regard to their duties under the CSA to identify and investigate suspicious

prescriptions; (2) lacked policies and procedures regarding identification and resolution

of red flagged prescriptions; (3) failed to make use of available data in connection with

its corresponding responsibility; and (4) failed to perform due diligence on prescriptions

that were, or should have been, flagged as potentially illegitimate.

       Publix’s failures to comply with its CSA duties are hardly surprising. This

litigation has revealed that some of the biggest, most profitable companies in the country

(and in the world) routinely and repetitively disregarded their legal obligations to

maintain effective controls against diversion of opioids, all in the pursuit of maximum

profits. What is surprising, however, is that while many of its competitors were

investigated and fined by the DEA, have been the subject of intense focus in this litigation

(including through multiple, lengthy, public trials), and have since taken steps to abate

the consequences of the opioid epidemic – some voluntary and some court-imposed –

Publix continues to deliberately ignore the law.




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        Because this Court has already determined the nature and scope of the distribution

and dispensing duties of a chain pharmacy, and because the summary judgment

evidence shows that Publix failed to comply with those duties as a matter of law, this

Court should grant Plaintiff’s motion for partial summary judgment.

                                   LEGAL STANDARD

        The legal standards applicable to this motion for summary judgment pursuant to

FED. R. CIV. P. 56 are those this Court has previously articulated in this litigation, and they

will not be repeated here. In re Nat’l Prescription Opiate Litig., No. 1:17-MD-2804, 2019 WL

3917575, at *1 (N.D. Ohio Aug. 19, 2019) (Dkt. 2483) (“In re Nat’l Prescription Opiate Litig.

2019/CT1”).

     MATERIAL FACTS AS TO WHICH THERE CAN BE NO GENUINE DISPUTE

A.      Background

        Publix is a privately owned corporation based in Lakeland, Florida.2 It claims to

be one of the ten largest-volume supermarket chains in the United States, with annual

sales of $54.5 billion in 2022.3 According to Dain Rusk, Publix’s Vice President of

Pharmacy, by the end of 2018, Publix had become “the number one performing pharmacy

in terms of sales and prescriptions for all of 2018” and its pharmacies ended 2018 with

$3.6 billion dollars and as “the number one pharmacy chain in the industry.”4




2 Ex. 1, Defendant Publix Super Markets, Inc.’s Answer (“Answer”) ¶ 79 (Dkt. 47).

3 Ex. 2, P-01378.

4 Ex. 3, Deposition Excerpts of Katherine Leonard, 12/2/22 (“Leonard Dep.”) Tr. at 257:4-259:8,

262:14-262:15 (quoting video, Leonard Dep. Ex. 14).
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       As of 2022, Publix operated 1,360 stores in Alabama, Florida, Georgia, North

Carolina, South Carolina, Tennessee, and Virginia, including 211 stores in Georgia.5 Over

1,200 of those stores include a pharmacy.6 Publix opened its first pharmacy in 1986 and

opened its first Cobb County store in 1992,7 and since 1996, Publix has operated twenty-

six pharmacies in Cobb County.8 At all relevant times, Publix pharmacies dispensed and

continue to dispense controlled substances, including those listed on Schedule II.9

       Starting in 2005, Publix has operated a central pharmacy warehouse at two

successive locations in Florida from which it distributed Schedule III through V

controlled substances to its pharmacies. Prior to October 2016, Publix did not warehouse

or distribute any Schedule II controlled substances. Since 2005, however, Publix has

warehoused and distributed certain prescription drugs, including hydrocodone

combination products (“HCPs”) that were previously classified as Schedule III controlled

substances but were reclassified to Schedule II in 2014. From approximately October 2014

through October 2016, Publix did not warehouse or distribute any Schedule II

hydrocodone products.10



5 Ex. 1, Answer ¶ 81; Ex. 2;

6 Ex. 3, Leonard Dep. Tr. at 89:6-89:9; Ex. 7, Deposition Excerpts of Laura Slone, 10/28/22 (“Slone

Dep.”) Tr. at 76:23-77:2.
7 Ex. 8, P-01381 at P-01381_25, PUBLIX-MDLT8-00132823 (Leonard Dep. Ex. 3); Ex. 9, P-01380 at

P-01380_3-6, PUBLIX-MDLT8-00115539 (King Dep. Ex. 43; Do Dep. Ex. 16; Ottolino Dep. Ex. 21).
8 Ex. 1, Answer ¶ 83; Ex. 10, Publix Super Markets, Inc. Supplemental Objections and Responses

to Plaintiff’s Interrogatories to Chain Pharmacy Defendants, June 16, 2022 (“Publix Supp. Resps.
to Interrogs.”) at 5-6.
9 Ex. 16, Deposition Excerpts of Fred Ottolino, 12/6/2022 (“Ottolino Dep”) Tr. at 16:11-17:9, 31:18-

31:22; Ex. 17, Deposition Excerpts of Dain Rusk 10/6/2023 (“Rusk Dep”), Tr. at 56:10-56:13.
10 Ex. 10, Publix Supp. Resps. to Interrogs. at 4-7; Ex. 1, Publix Answer ¶¶ 461, 463.

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        In October 2016, Publix began to distribute Schedule II controlled substances. At

that time, it moved to a new, larger pharmacy warehouse, in part because the controlled

substance cage at the existing warehouse lacked the necessary capacity for the increased

volume of drugs Publix was distributing.11 The timing of that increase in distribution

volume is significant. While other distributors were implementing diversion control

practices to comply with their obligations under the CSA – or discontinuing distribution

of prescription opioids entirely – Publix, which lacked any effective diversion control

system, substantially increased its distribution. The following graph illustrates how Publix

filled the void left by other distributors who had scaled back or ceased their opioid

distribution:




11 Ex. 7, Slone Dep. Tr. at 76:3-76:5, 76:8-76:11; Ex. 10, Publix Supp. Resps. to Interrogs. at 4.

                                                   6
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ARCOS 2006-2019.12 But this dramatic increase in Publix’s self-distributing to its

pharmacies tells only part of the story, because Publix was not the only source of opioids

for its pharmacies: its pharmacies also obtained prescription opioids from other

wholesale distributors, including Anda, McKesson, and AmerisourceBergen.13

       Publix has long been aware of the nationwide opioid problem. As early as 2011,

Publix’s Vice President of Pharmacy Operations, Fred Ottolino, acknowledged in a memo

to all pharmacists that “[p]rescription drug abuse is the nation’s fastest growing drug

problem.”14 In its internal communications in the years that followed, Publix continued

to acknowledge the nationwide opioid epidemic, including detailing the staggering

statistics surrounding the number of opioid deaths and overdoses.15 As a dispenser and

distributor of controlled substances, Publix was and remains subject to the requirements

of the CSA and its implementing regulations. In 2018, however, Publix expressed that

controlled substance compliance posed a “threat” to its business, noting that “[t]he

regulations around controls are important for society, but a burden for sure on the retailer

and distributor.”16



12 Ex. 11, DEMO-Publix MSJ-001, ARCOS 2006-2019. Exhibit 11 is a summary of ARCOS data from

2006-2019 prepared by Plaintiff’s expert Craig McCann that is proffered under Fed. R. Evid. 1006.
The data from which this summary was prepared is in Publix’s possession and is also publicly
available at https://www.slcg.com/opioid-data/ (accessed on 4/11/24).
13 Ex. 1, Answer ¶¶ 464, 486; Ex. 23, Deposition Excerpts of Chris Hewell, 11/4/22 (“Hewell Fact

Dep.”) Tr. 195:13-195:24; 210:9-214:10.
14 Ex. 12, P-01376, PUBLIX-MDLT8-00118914 (Chavez Dep. Ex. 11; Ottolino Dep. Ex. 1).

15 Ex. 13, P-01377 at P-01377_5, 10-11, PUBLIX-MDLT8-00077173 (Smith Dep. Ex. 3; Hewell Dep.

Ex. 2; Chavez Dep. Ex. 12); Ex. 8, P-01381_ at P-01381_36, PUBLIX-MDLT8-00132823 (Leonard
Dep. Ex. 3).
16 Ex. 14, P-01363, PUBLIX-MDLT8-00071828 (Smith Dep. Ex. 4).

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B.     Publix Lacked Effective Controls Against Diversion at the Distribution Level

       In 2008, McKesson sent Fred Ottolino (Vice President of Pharmacy Operations

from 2004 to 2018) a letter stating “[t]he DEA is requiring that McKesson and all

wholesale distributors play an expanded role in monitoring the order and distribution of

controlled substances.”17 When asked about that letter in his deposition, Mr. Ottolino

dismissed it and testified that, in his view, Publix was not a “wholesale distributor”

because it only distributed to itself.18 Mr. Ottolino’s successor and Publix’s current VP of

Pharmacy, Dain Rusk, similarly testified that Publix “is not a distributor.”19 In fact,

Publix was and is registered as a wholesale drug distributor by the DEA, the state of

Georgia, and every other state to which it distributes controlled substances – a fact Mr.

Ottolino was unaware of.20 In fact, Publix could not locate or even recall receiving copies of

DEA official Joseph Rannazzisi’s seminal 2006 and 2007 letters sent to all registrants

regarding their suspicious order monitoring obligations under the CSA.21

       1.      Publix did not even have a working SOM system prior to 2019.

       The CSA requires all registrants to provide effective controls and procedures to

guard against the theft or diversion of controlled substances. As a distributor, Publix was



17 Ex. 4, P-1389, PUBLIX-MDLT8-00147270 (Ottolino Dep. Ex. 17).

18 Ex. 16, Ottolino Dep. Tr. at 241:17-245:6.

19 Ex. 17, Rusk Dep. Tr. at 54:4-56:9. Mr. Rusk further testified that it was his belief that Publix was

not a “wholesaler” stating, “I don’t know that I understand the laws.” Id. at 55:20-55:21.
20 Ex. 18, P-01359, PUBLIX-MDLT8-00056780.

21 Ultimately, Publix’s counsel did locate a copy of the December 27, 2007, Rannazzisi letter in its

files and produced it just prior to the deposition of distribution witness Jennifer Warren. Ex. 20,
P-01373, PUBLIX-MDLT8-00147285. However, not a single Publix witness recalls ever receiving
or reviewing any of the critical Rannazzisi letters. Moreover, Publix still has not produced a copy
of the September 27, 2006 or February 7, 2007 Rannazzisi letters.
                                                   8
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also required to design and operate a system to disclose suspicious orders, otherwise

known as a suspicious order monitoring (“SOM”) system. This is true whether a

registrant distributes only to its own pharmacies or to others.22 The main determinant of

an effective suspicious order monitoring system is whether it effectively identifies

suspicious orders. Prior to 2019, Publix did not report a single suspicious order to the

DEA.23 That is not because Publix pharmacies never placed a “suspicious” order — it was

because Publix did not have a system in place to identify them. In mid-2018 Publix

internally acknowledged that the system it now claims to have used to monitor for

suspicious orders “does not work.”24

       2.     Publix’s SOM system did not examine deviations in pattern or
              frequency prior to 2019.

       The CSA’s implementing regulations define “suspicious orders” to include

“orders of unusual size, orders deviating substantially from a normal pattern, and orders

of unusual frequency.” 21 C.F.R. § 1301.74. But the systems that Publix claims to have

used for SOM between 2005 and 2018 failed to consider pattern or frequency at all.

       The systems that Publix contends it used for SOM changed over time. While Publix

used them to identify orders that exceeded a specified threshold size, Publix only began




22 As this Court well knows, the other major chain pharmacies self-distributed opioids at various

times.
23 Ex. 23, Hewell Fact Dep. Tr. at 182:20-182:22.

24 Ex. 22, P-01374 at P-01374_3, PUBLIX-MDLT8-00147800 (Smith Ex. 5; Warren Ex. 6).

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to evaluate unusual patterns in or around April 2018, and as of June 2018, it was still

working on changes to its system to evaluate unusual frequency.25

       Furthermore, when Publix finally did begin considering deviations in ordering

patterns in 2018, the threshold for Test #17 (unusual pattern) was set to “as needed.”26

This meant that if there was enough history and “the growth over the threshold limit was

reasonable,”27 the store would be allowed to order a quantity over their threshold within

a 30-day period.28 “This was very concerning to the Publix Team and not how [it] intended

for the system to be operating.”29 So Publix switched the threshold from “as needed” to

“yes,” which meant that orders that triggered Test #17 would be held. In just three days

with the threshold set to “yes,” over 5,000 “items” were flagged and held.30 In response,

did Publix investigate the alarming number of flagged orders from its own pharmacies?

No, it just switched the Test #17 setting back to “as needed” so unusual pattern orders

would no longer be flagged.31




25 Ex. 24, P-01361, PUBLIX-MDLT8-00071320 (Smith Dep. Ex. 6). The system Publix now claims

to have used for suspicious order monitoring from 2005 to 2016 was the “Publix inventory
management system” or “PIMS.” Ex. 23, Hewell Fact Dep. at Tr. 139:13-139:20, 179:23-181:9. As
the name implies, it was merely an inventory management system, which helps explain why it only
considered order size and not the other factors required to be considered under 21 C.F.R.
§ 1301.74.
26 Ex. 24, P-01361.

27 Id. at P-01361_2.

28 Id.

29 Id. at P-01361_2 (emphasis in original).

30 Id.

31 Id. at P-01361_2-3.

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         As of July 31, 2018, an internal memo acknowledged that Publix was running just

two algorithms, both related only to the size of the order.32

         3.    Publix’s efforts to monitor orders of unusual size were insufficient.

         In a July 2018 memo, Publix’s “Pharmacy Compliance Team” offered a scathing

review of the Publix’s SOM system:

         For the metric “# of suspicious orders reported to DEA through the SOM
         system”, there were none. However, the Team discussed the [SOM] system
         and believes it does not work. All of the algorithms (red flags) that can be
         triggered on the system have been shut down except for 2 relating to the
         size of the order, so that only a couple of orders were stopped last year. …
         Also, even if an order were stopped by the [SOM] system, the store could
         simply purchase the drugs from the wholesaler.33

So in addition to failing to monitor for orders of unusual pattern or frequency at all, as

late as 2018, Publix’s own compliance team acknowledged that its system did not even

effectively police orders of unusual size. And even if an order was flagged as unusually

large, the compliance team noted that a store whose order was stopped could simply buy

from another distributor.

         Moreover, if a Publix pharmacy had its orders flagged as being unusual in size,

that store could simply request a threshold increase, and the only requirement for

approval was that the pharmacy supervisor provide a “business justification” for the

increase.34 In a 2018 document titled “Controlled Substance Threshold Training for

Pharmacy Supervisors,” Publix offered no standards for what would be an acceptable




32 Ex. 22, P-01374 at P-01374_3, PUBLIX-MDLT8-00147799 (Smith Dep. Ex. 5, Warren Dep. Ex. 6).

33 Id.

34 Ex. 25, P-01371 at P-01371_2, PUBLIX-MDLT8-00130893 (Smith Ex. 7).

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“business justification,” but it did mention a few examples, including “new patient,

surrounding store closure, opening of a new Healthcare Practitioner (HCP) practice,

etc.”35 The document also mentions “File Buys.”36 As Plaintiff’s expert Joe Rannazzisi

explains, however,

         the examples given are not necessarily good reasons for clearing an order.
         These circumstances (pain clinic open nearby, neighboring pharmacy
         closed, file purchases) may also be a reason to stop or cancel orders from
         being shipped, and as such require a deeper inquiry. Some “pain clinics”
         are “pill mills” and prescribe large quantities of controlled substances
         illegally; pharmacies involved in diversion close and sell their prescription
         files, providing false validation of suspect prescriptions/patients to the
         pharmacy that purchased the files.37

In other words, “the fact that a store’s opioid business has grown is a reason to begin a

diligent inquiry, not a justification for failing to perform one.”38

         Pharmacist Shannon Brice testified that in her twenty-five years of experience at

Publix, most of the orders that were flagged for being over the size limit were approved

within 24 to 48 hours from being placed.39 In fact, the evidence shows that threshold

increases were always approved—usually within minutes.40 And a simple increase in


35 Id.

36 Id. at P-01371_3.

37 Ex. 53, P-01352 at P-01352_38, Rannazzisi, Joseph, CT8 Expert Report, 1/24/24 (“Rannazzisi

Rpt.”).
38 Id. at P-01352_65.

39 Ex. 26, Deposition Excerpts of Shannon Brice, 8/3/23 (“Brice Dep.”) Tr. at 41:14-42:7.

40 See, e.g., Ex. 35, P-01384, Anda_Opioids_MDL_0000344122 (Hewell Dep. Ex. 16, Chavez Dep.

Ex. 30) (30% threshold increase for oxycodone approved in two minutes because “we do not have
enough”); Ex. 36, P-01383, Anda_Opioids_MDL_0000343756 (Hewell Dep. Ex. 17, Chavez Dep.
Ex. 32) (30% threshold increase approved in four minutes because customers take as maintenance
meds); Ex. 37, P-01385, Anda_Opioids_MDL_0000343326 (Hewell Dep. Ex. 18, Chavez Dep. Ex.
31) (20% threshold increase for oxycodone approved in two minutes because “we have met our

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demand for the drug was sufficient to justify approval—without any requirement to

document why there had been an increased demand.41

       Fred Ottolino (Publix’s VP of Pharmacy Operations) was remarkably candid about

why approvals were made without documentation: “Why would we spend resources in

doing that…there’s no value in that.”42

       4.     Publix had no diversion analysts and no compliance department prior to
              2019.

       Publix did not have a single diversion analyst responsible for reviewing flagged

or suspicious orders prior to 2019.43 So whenever a Publix pharmacy submitted an order

that exceeded the initial threshold, and part of that order was cut (at least temporarily),

there was no one evaluating whether or not the order was indeed suspicious. Publix had

no centralized compliance department until at least 2018 and, even then its efforts to

centralize diversion analytics were “in it’s [sic] infancy.”44 Moreover, as of 2021, Publix

had a total of only five diversion analysts responsible for reviewing all flagged orders for

all of its over 1,200 pharmacies.45




threshold and need to increase to meet our customer’s needs”); Ex. 38, P-01382,
Anda_Opioids_MDL_0000343115 (Chavez Dep. Ex. 29) (30% threshold increase approved in one
minute because “we have used 722 in April and already 270 in May, only have 7 tabs in stock
right now”).
41 Ex. 16, Ottolino Dep. Tr. at 209:10-209:14, 209:16-210:10, 210:12-212:4.

42 Ex. 16, Ottolino Dep. Tr. at 212:2-212:4.

43 Ex. 27, Deposition Excerpts of Jillanne Smith, 11/15/23 (“Smith Dep.”) Tr. at 183:18-184:8.

44 Ex. 28, P-01366 at P-01366_2, PUBLIX-MDLT8-00079714; Ex. 27, Smith Dep. Tr. at 63:13-65:18.

See also Ex. 29, P-01367, PUBLIX-MDLT8-00088571.
45 Ex. 27, Smith Dep. Tr. at 188:20-189:16.

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          Chris Hewell (Publix’s Director of Pharmacy Procurement and Customer

Experience) claimed that from 2012 to 2018 it was the responsibility of the Pharmacy

Supervisors to evaluate flagged orders (if triggered by threshold) and report back to him

if it was indeed suspicious.46 Yet there seems to be some confusion within the company

on this score. Leanne Jacobson (Pharmacy Supervisor 2016-present, NW Georgia Area,

which includes Cobb County) testified that prior to 2019 it was not part of her job duties

to determine whether a flagged order was suspicious. 47 In fact, Publix Pharmacy

Supervisors did not receive any training on handling threshold increases until at least

2018.48

          Moreover, even if the “system” that Hewell claims was in place before 2018

actually existed, it was entirely deficient. From 2012 to 2018, not a single order was

reported to Hewell as suspicious by any Pharmacy Supervisor overseeing Publix’s

pharmacies.49 In 2015, Publix considered purchasing a SOM application from a vendor,

Axway, to monitor controlled substances but ultimately decided not to due to costs. 50 In

2020, when Publix finally transitioned to its new SOM system, it opted not to go with

Buzzeo or another established system, but instead contracted with Order Insite.51 Yet




46 Ex. 23 Hewell Fact Dep. at 166:14-167:2.

47 Ex. 30, Deposition Excerpts of Leigh Anne Jacobson, 11/8/22 (“Jacobson Dep.”) Tr. at 243:10-

247:16.
48 Ex. 25, P-01371, PUBLIX-MDLT8-00130893 (Smith Dep Ex. 7).

49 Ex. 23, Hewell Fact Dep. Tr. at 168:18-168:23.

50 Ex. 6, P-01387, PUBLIX-MDLT8-00143498 (Hewell Dep. Ex. 4).

51 Ex. 27, Smith Dep. Tr. at 231:7-231:21.

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Publix itself internally acknowledged that the software from the “startup” company

Order Insite was “extremely immature” and “ha[d] a low likelihood for success.”52

C.        Publix Lacked Effective Controls against Diversion at the Dispensing Level

          In addition to Publix’s wholly inadequate distribution-level anti-diversion efforts,

Publix was also derelict in its anti-diversion responsibilities at the dispensing level. This

is due in large part to Publix’s attitude that compliance with the laws and regulations

governing the distribution and dispensing of controlled substances, while “important for

society,” was also “a burden for sure on the retailer and distributor.”53

          As this Court has discussed in its prior orders, there are certain well-established

“red flags” that pharmacists use to identify prescriptions that have the potential to be

diverted, and “[t]here is no question that dispensers of controlled substances are

obligated to check for and conclusively resolve red flags of possible diversion prior to

dispensing those substances.” In re Nat’l Prescription Opiate Litig. 2020/CT3, 477 F. Supp.

3d at 629. In addition, due diligence done to resolve a red flag prescription must be

documented so that the reasons either for filling or refusing to fill are preserved. In re

Nat’l Prescription Opiate Litig., 589 F. Supp. 3d 790, 819 (N.D. Oh. 2022) (Dkt. 4295) (“In re

Nat’l Prescription Opiate Litig. – MJML/CT3”).

          The summary judgment evidence shows that, in addition to its failures at the

distribution level, Publix also utterly failed to comply with its dispensing-related CSA

duties.


52 Ex. 19, P-01388, PUBLIX-MDLT8-00096778 (Smith Dep. Ex. 8; Ottolino Dep Ex. 3).

53 Ex. 14, P-01363, PUBLIX-MDLT8-00071828.

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       1.      “Red Flags” indicative of possible diversion.

       Signs that a prescription may be illegitimate are commonly referred to as “red

flags.”54 Red flags are “warning signs”55 indicating that further inquiry is required. There

are fourteen categories of red flags that can be detected using computerized data analysis,

including long distance travel, doctor-shopping, pharmacy-shopping, drug cocktails,

early refills, opioids days’ supply, and cash payment.56 There are additional red flags

that are not susceptible to computer analysis but are nevertheless red flags, such as

appearing intoxicated or using slang terms for opioids.57

       2.      Publix failed to train its pharmacists to identify red flags and document
               their due diligence efforts.
       Publix did not create a written controlled substance dispensing policy that

referenced red flags of diversion until 2012 – after it learned that an immediate

suspension order had been entered against CVS (and subsequently against Walgreens).58

And when Publix did finally adopt a dispensing policy that included references to some

of the red flags of diversion, its policy did not require due diligence documentation unless

the pharmacist was located in Florida and consulted the Florida prescription drug

monitoring      program       (“PDMP”)        database   with   respect    to   a    particular

patient/prescription. However, even that was only required for existing customers; if the



54 Ex. 34, P-01353, Catizone, Carmen, CT8 General Expert Report, 1/24/24 (“Catizone Rpt.”) at 3.

55 Ex. 34, P-01353, Catizone Rpt. at 3.

56 Ex. 34, P-01353, Catizone Rpt. at 27-45.

57 Ex. 34, P-01353, Catizone Rpt. at 45.

58 Ex. 41, P-01358, PUBLIX-MDLT8-00027405 (Smith Dep. Ex. 16; Ottolino Dep. Ex. 7). Publix

opened its first pharmacy in Cobb County in 1992. Ex. 9, P-01380 at P-01380_3-6, PUBLIX-MDLT8-
00115539 (King Dep. Ex. 43; Do Dep. Ex. 16; Ottolino Dep. Ex. 21).
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individual seeking to fill a prescription was “not an existing customer, no further action

[was] needed.59

       But Publix’s belated policy was mere window dressing. Publix pharmacist

Shannon Brice testified that despite being a pharmacist at Publix for 25 years and a

manager overseeing other Publix pharmacists in Cobb County, she had never even seen

the 2012 policy until just weeks before her deposition in 2023.60 And as late as November

2018, Publix was still developing a training program for pharmacy staff to identify red

flag prescriptions.61 And as of August 11, 2023, Publix still had no checklist for red flag

analyses.62

       Moreover, the training that began in 2019 was wholly inadequate. Publix created

a Pharmacy Advocacy Team in 2020, ostensibly to facilitate communication between its

stores and corporate leadership.63 In March 2021, feedback from the stores included a

number of complaints, one of the most common of which was the need for “Corporate

lead opiate guidance”:


59 Ex. 41, P-01358 at P-01358_39, PUBLIX-MDLT8-00027405 (Smith Dep. Ex. 16). See also Ex. 21,

30(b)(6) Deposition Excerpts of Lindsay Burkhalter 8/11/2023 (“Burkhalter 30(b)(6) Dep.”) Tr. at
173:14-173:21; Ex. 26, Brice Dep. Tr. at 335:6-335:13; Ex. 46, Deposition Excerpts of Erika Owens,
7/28/23 (“Owens Dep.”) Tr. at 221:4-221:13.
60 Ex. 26, Brice Dep. Tr. at 44:5-45:8. See also Ex. 42, P-01362, PUBLIX-MDLT8-00071345 (as late as

2018 Publix pharmacists did not have access to information on controlled substances laws on
Publix Connection).
61 Ex. 28, P-01366, PUBLIX-MDLT8-00079714 (Smith Dep. Ex. 9; Ottolino Dep. Ex. 10); Ex. 43, P-

01370, PUBLIX-MDLT8-00119095 (Smith Ex. 19). See also Ex. 28, P-01366, PUBLIX-MDLT8-
00079714 (Smith Ex. 9); Ex. 29, P-01367, PUBLIX-MDLT8-00088571. Even once instituted, one of
the two formal trainings is for only 30 minutes every two years. Ex. 44, P-01372, PUBLIX-MDLT8-
00134424.
62 Ex. 21, Burkhalter 30(b)(6) Dep. Tr. at 171:1-171:17; 147:8-148:6.

63 Ex. 49, P-01369, PUBLIX-MDLT8-00115907 (Leonard Ex. 6).

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       Educate and re-educate on Corresponding Duty, Proper filling standards
       on controlled substances, how to professionally communicate refusals to
       fill, proper documentation in EnterpriseRx, uniform refill policy of
       controlled substances, mandatory Narcan counseling, acceptance of
       coupons and/or Good Rx, updated R&P guide with more concrete policy.
       Help and assistance in this area is one of the most common complaints I
       received. (Dain)64

Publix rejected this request for guidance, leaving pharmacists on their own. In April 2021,

when management addressed the complaint about opiate guidance, it said,

       Our approach will continue to be for the pharmacist to make clinical
       judgements [sic] based on the most recent guidelines and
       recommendations. There won’t be corporate direction telling pharmacists
       exactly what to say in each case. Corporate can help clarify guidelines to
       assist stores ex: reducing coupon cards pricing on opioids. A task force
       including select PMs has been formed and will be meeting 5/5.65

       The opioid “task force” was indeed created, and its first (and only) meeting was

held on May 5, 2021.66 Three Publix pharmacists gave a presentation. They made a

number of important observation and recommendations, including:

          •   Pharmacist has a duty to clear all red flags prior to dispensing
          •   Strongly encourage documentation of how red flags were cleared or
              how they were unable to be cleared, resulting in a refusal to fill
          •   Strongly encourage pharmacist to check PDMP for control
              medications in all states, not just where it is mandatory
          •   Use of a checklist for dealing with fraudulent controlled substance
              prescriptions.67




64 Ex. 48, P-01368, PUBLIX-MDLT8-00115817 (Leonard Ex. 5) at -115820 (emphasis in original).

The team included pharmacists and, among others, Dain Rusk. Ex. 49, P-01369, PUBLIX-MDL8-
00115907 (Leonard Ex. 6).
65 Ex. 49, P-01369, PUBLIX-MDLT8-00115909 at -115913 (Leonard Ex. 6)

66 Ex. 3, Leonard Dep. at 202:8-202:10.

67 Ex. 52, P-01375, PUBLIX-MDLT8-00149649 (Leonard Ex. 10; Chavez Ex. 16).

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Nothing happened as a result of these recommendations, however. Director of Retail

Pharmacy Operations Kathy Leonard testified that she did not recall any action items,

follow-up items, or projects that came out of the meeting.”68 The task force was disbanded

after that one meeting because Leonard “didn’t see the need to continue.”69

       3.      Publix failed to require its pharmacists to check the Georgia PDMP
               before filling prescriptions for controlled substances.

       Despite the fact that checking prescription drug monitoring programs is a vital

tool in maintaining effective controls and fighting abuse and diversion of opioids, Publix

has never required its pharmacists to consult the Georgia PDMP when dispensing a

controlled substance,70 and Publix is aware that it “is not the norm” for Publix

pharmacists in Georgia to do so.71

       4.      Publix lacked anti-diversion analytics and a prescriber monitoring
               program.

       As late as November 2018, Publix’s effort to centralize diversion analytics was still

“in it’s [sic] infancy.”72 As of August 2023 – and likely to the present – Publix still lacked

a prescriber monitoring system; had no centralized method by which it can track

problematic prescribers or notify its pharmacists about them; lacked a standard process

to follow when it receives tips on questionable prescribers from local or federal

authorities; did not have a written red flag checklist; did not document due diligence




68 Ex. 3 Leonard Dep. at 203:8-203:21.

69 Ex. 3 Leonard Dep. at 206:17-207:22.
70 Ex. 50, P-01364, PUBLIX-MDLT8-00074321; Ex. 27, Smith Dep. Tr. at 369:15-369:21.

71 Ex. 50, P-01364, PUBLIX-MDLT8-00074321.

72 Ex. 28, P-01366 at P-01366_2, PUBLIX-MDLT8-00079714 (Smith 9).

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related to the clearance of red flags; did not track refusals to fill; and did not allow for

corporate blocks for suspicious prescribers whether they are reported by their own

pharmacists, known to be under investigation by the DEA and/or local authorities for

improper prescribing practices, or after being disciplined or having had their DEA

licenses revoked for improper controlled substance prescribing.73

       With respect to Publix’s failure to disseminate information about problematic

prescribers, Pharmacy Supervisor Jacobson testified that “[a]s far as Publix pharmacy

issuing a statement on a physician, I have not seen that occur.” 74 If a pharmacist learned

of an illegitimate prescription, he or she might add a note about a particular prescriber,

but making such a note was never a requirement. In practice, a note could be placed in a

variety of locations, including a prescription note, prescriber note, counseling note,

transaction note, or patient note.75 However, there is no notification in the system to alert

a pharmacist to the existence of such notes.76 Further, even if a note were created, it could

be deleted.77



73 Ex. 21, Burkhalter 30(b)(6) Dep. Tr. at 171:1-171:15; 171:18-173:21; 175:6-175:14; Ex. 26, Brice Dep.

Tr. at 334:16-334:19; 334:22-334:24; 335:1-5; Ex. 15, P-01356, PUBLIX-MDLT8-00078435 (Troughton
Ex. 24). The lack of a standard process to follow when it receives tips is particularly troubling
given that as early as 2014, GDNA Director Rick Allen made efforts to alert retail pharmacies,
including Publix, of suspicious or suspended prescribers in and around Georgia. See Ex. 39, P-
01379, WAGMDL02448561 (email received by Publix managers Hines and Kirkus). See also Ex. 47,
30(b)(6) Deposition Excerpts of Chris Hewell, 10/7/22 (“Hewell 30(b)(6) Dep.”) Tr. at 314:13-
314:25 (no feature to block prescribers as of October 2022).
74 Ex. 30, Jacobson Dep. Tr. at 313:9-313:18.
75 Ex. 47, Hewell 30(b)(6) Dep. Tr. at 302:18-304:7; 315:16-316:16.

76 Id at 302:18-304:7; 305:3-308:8. See 313:16-314:11; 315:16-316:16.

77 Id at 309:10-310:2; 310:16-312:25; 315:3-315:14. See Ex. 52, P-01375 at P-01375_10, PUBLIX-

MDLT8-00149649 (Leonard 10; Chavez 16).
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         The testimony of pharmacists DeAnna Bunch and Shannon Brice regarding local

doctor Gigi Bell-Wade illustrates Publix’s dysfunction and lack of effective controls in

dealing with suspicious prescribers. Bunch testified she worried that Dr. Bell-Wade was

inappropriately prescribing opioids in Cobb County.78 Yet Brice – the pharmacy manager

for the same store – testified that she filled controlled substance prescriptions for Dr. Bell-

Wade and was unaware of any concerns regarding the doctor’s prescribing habits. 79

         And as of August 11, 2023, Publix still did not have a centralized system for

tracking red flags and refusals to fill controlled substance prescriptions.80

         5.     Publix was aware of diversion at its stores in Cobb County.

         Publix had actual knowledge that at least some opioids it dispensed in Cobb

County were being diverted. One example of Publix’s awareness of diversion occurred

in January 2020. Mike Chavez, former Pharmacy Supervisor in the Atlanta region,

received notice of a fraudulent prescription presented at Publix Store 536, located in Cobb

County.81 He reached out to the Compliance Department and the ensuing investigation

discovered four additional prescriptions written by the same prescriber, all marked with

the same “Status” – “Sold.”82

         Compliance then dug deeper, and within the hour, discovered eight more

fraudulent prescriptions by the same prescriber, all filled and sold at Cobb County stores



78 Ex. 40, Deposition Excerpts of Deanna L. Bunch, 7/31/23, Tr. at 238:16-239:15.

79 Ex. 26, Brice Dep. Tr. at 335:16-336:12.

80 Ex. 21, Burkhalter 30(b)(6) Dep. Tr. at 171:18-172:21.

81 Ex. 33, P-01365, PUBLIX-MDLT8-00077925 (Chavez Ex. 25).
82 Id.

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(Stores 536, 753, and 1112).83 Compliance also discovered that “[t]here are [patient] notes

from Aug 2019 and Jan 2020 stating that someone is using this profile to fill fraudulent

Rx’s, however, [store] 1112 filled 4 Rx’s and [store] 0753 filled 2 Rx’s for this [patient]

since the first note was entered in Aug.”84 In short, and as confirmed by Chavez, at least

six fraudulent prescriptions were filed despite Publix’s dispensing system containing

patient notes alerting the pharmacies to the fraudulent prescriptions.85 Chavez testified,

“it would have been nice if they’d looked at that note, because they would have never

filled it if they saw that note.”86

         This incident illustrates the failure of Publix to comply with its dispensing-related

CSA duties. Some of its pharmacists exercised their “corresponding responsibility” and

identified illegitimate prescriptions and attempted to document their findings. Yet

because Publix failed to implement appropriate anti-diversion systems and policies,

other Publix pharmacists were not aware of that and continued to fill “fraudulent Rx’s.”

         6.     Publix failed to resolve red flags and diversion occurred as a result.

         From June 2006 through May 2019, Publix dispensed 752,246 opioid prescriptions,

representing 31,789,759 dosage units, to Cobb County residents. According to Plaintiff’s

expert’s red flag analysis, 337,882 of those prescriptions (44.9%) triggered at least one red




83 Id.

84 Id. at P-01365_2.

85 Ex. 32, Deposition Excerpts of Michael Chavez, 12/14/22 (“Chavez Dep.”) Tr. at 316:18-317:9.

86 Ex. 32, Chavez Dep. Tr. at 320:23-321:7.

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flag; 140,276 (18.65%) triggered at least two red flags; 57,550 (7.65%) triggered at least

three red flags; and 23,048 (3.06%) triggered at least four red flags.87

         The dispensing-related discovery produced by Publix contains no meaningful

documentation of efforts by Publix pharmacists to determine whether any of those

prescriptions were legitimate before filling them. Given the internal acknowledgement

that due diligence efforts must be completely and accurately documented, Publix cannot

now credibly claim that due diligence was performed on any of those prescriptions. As

the three pharmacists on the opioid task force advised, “Document. Document.

Document. If you don’t document, then there is no proof the conversation, the

consultation, or the clearing of red flags took place.”88 With evidence of tens of thousands

of red flagged prescriptions, and in the absence of adequate due diligence having been

performed at either the distribution or dispensing level, it is reasonable to infer that

diversion in fact occurred, as this Court has previously recognized. See In re Nat'l

Prescription Opiate Litig., No. 1:17-MD-2804, 2019 WL 4178617, at *3 (N.D. Ohio Sept. 3,

2019).

         Plaintiff’s expert Carmen Catizone reviewed Publix’s records relating to

dispensing prescriptions that had been issued by certain prescribers whose prescriptions

triggered red flags. Nevorn Askari had been disciplined by the Georgia Medical Board




87 Ex. 31, P-01355, consists of the Report of Craig McCann, Jan 24, 2024, and its Appendix 8.3B

only (“McCann Rpt.”). The entirety of the report and all appendices have been served on Publix’s
counsel. Other appendices will be provided to the Court upon request.
88 Ex. 52, P-01375 at P_01375_19, PUBLIX-MDLT8-00149649 (Leonard 10; Chavez 16).

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starting in 2002, and she was indicted in 2013. Publix filled 81 prescriptions for Askari

after she was indicted, including opioid prescriptions. More than half of those

prescriptions triggered 5 or more red flags.89 Publix also dispensed prescriptions written

by William Richardson after he was indicted. Most of his prescriptions triggered four or

more red flags. 90 In February 2016, Publix received from Purdue a list of prescribers with

actions taken against them, including Narendra Nagareddy, who had been arrested on

charges relating to prescribing controlled substances not for legitimate medical purposes,

which resulted in the deaths of dozens of patients. Publix continued to fill Nagareddy’s

controlled substance prescriptions even after his arrest. Most of Nagareddy’s

prescriptions triggered two or more red flags.91

       Catizone performed a review of Publix electronic information and hard copy

prescriptions for a sample of 400 randomly chosen prescriptions that triggered one or

more red flags. He concluded that:

       My review of the hard copy prescriptions, notes, and data fields for the
       sample set of red flagged prescriptions provided by Defendants
       demonstrates that Defendants did not have effective systems and programs
       in place to identify, resolve, and document red flag prescriptions.

       …. My review found that Publix consistently failed to satisfy all four
       elements of required due diligence. In the limited instances in which due
       diligence was undertaken, it was incomplete and did not provide adequate
       information on the identified red flags and efforts to resolve the red flags in
       order to justify dispensing the prescriptions.



89 Ex. 45, P-01354 Case Specific Report of Carmine Catizone, Jan. 24, 2024(“Catizone Specific Rpt.”)

at 12-14.
90 Ex. 45, Catizone Specific Rpt. at 14-16.

91 Ex. 45, Catizone Specific Rpt. at 16-18.

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        …. In the vast majority of circumstances, Defendants did not identify,
        resolve, and document the resolution of the red flag or flags associated with
        each prescription. Most of the prescriptions and notes fields did not contain
        any due diligence information. When comments or information are present,
        it usually merely states “called doctor,” “checked PMP,” or “consulted
        patient.” While these comments suggest some additional steps were taken,
        they do not meet the requirement to fully document how the specific red
        flag was resolved prior to dispensing the medication. …

        The consistent failure of Defendant[] Publix … to adequately resolve and
        document the numerous red flags in the sample set of prescriptions is
        concerning and indicates to me that effective due diligence was not
        performed on the overwhelming number, greater than 90% and
        approaching 95%, of the sample prescriptions reviewed and ultimately
        dispensed by the Defendant[].92

        7.         Publix financially incentivized its pharmacists to dispense opioids.

        Unlike its competitors, Publix still has not removed controlled substances from

script count, volume, or store profitability measures for the purposes of pharmacist bonus

calculations.93 As recently as August 2023 – and likely today – at Publix, the more

controlled substances filled, the more money pharmacists make.94 These types of financial

incentives to dispense more prescriptions inherently conflict with the need to detect and

resolve      red     flags,   and    not    fill   illegitimate   prescriptions.95   Even   Publix

pharmacist/pharmacy manager Shannon Brice agreed that it was not appropriate for

Publix to include controlled substances prescriptions in pharmacist and/or pharmacy

leader bonus calculations.96



92 Ex. 45, Catizone Specific Rpt. at 18-19; see also id. at 45.

93 Ex. 51, P-01360, PUBLIX-MDLT8-00059249 (9/10/18).

94 Ex. 21, Burkhalter 30(b)(6) Dep. Tr. at 176:19-176:24.

95 Ex. 5, P-01357 Expert Report of Anna Lembke, February 7, 2024 (“Lembke Rpt.”) at 213; see also

Ex. 53, P-01352 Rannazzisi Rpt. at 17; Ex. 34, Catizone Rpt. at 71-79.
96 Ex. 26, Brice Dep. Tr. at 339:2-339:13

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                                        ARGUMENT

I.     PLAINTIFF IS ENTITLED TO SUMMARY JUDGEMENT REGARDING THE
       NATURE AND EXTENT OF PUBLIX’S CSA AND GCSA DUTIES

       Here, as in Track Seven, Plaintiff asks the Court to adopt its own prior rulings

regarding the CSA. In re Nat’l Prescription Opiate Litig. 2023/CT7, 2023 WL 2974461, at *1.

Just like Kroger in Track Seven, Publix will be unable to articulate any good cause for not

applying those prior rulings.

       A.     Publix’s Duties as a Distributor

       The nature and extent of Publix’s duties as a distributor were articulated by this

Court in In re Nat’l Prescription Opiate Litig. 2019/CT1. Publix has a duty to maintain

effective controls against diversion, which includes the duty to: “(1) design and operate

a system to disclose to the registrant suspicious orders; and (2) inform the DEA of

suspicious orders when discovered by the registrant.” 2019 WL 3917575, at *7. The duty

to maintain effective controls against diversion also necessarily entails an obligation not

to ship any order identified as suspicious unless and until it has been determined through

due diligence that the order is not likely to be diverted. In re Nat’l Prescription Opiate Litig.

2019/CT1, 2019 WL 3917575, at *9; accord City & Cnty. of San Francisco v. Purdue Pharma

L.P., 491 F. Supp. 3d 610, 632 (N.D. Cal. 2020); Masters Pharm., Inc. v. Drug Enf’t Admin.,

861 F.3d 206, 212-13 (D.C. Cir. 2017); Southwood Pharm., 72 FR at 36500, 2007 WL 1886484.

       Although the duty not to ship suspicious orders is not set forth expressly in the

regulations, this Court has explained:

       [T]he CSA statutory and regulatory duties to maintain effective controls
       against diversion includes a duty not to ship suspicious orders. Indeed,
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       given the overriding duty of a registrant to maintain effective controls
       against diversion, the Court is hard-pressed to think of a more basic
       requirement than not to ship a dubious order bearing indicia that the drugs
       could be diverted to illegal channels. How can a registrant freely ship
       suspicious orders and still comply with its duty to maintain controls against
       diversion? It cannot. It has a duty not to ship the order unless due diligence
       reasonably dispels the suspicion.

In re Nat’l Prescription Opiate Litig. 2019/CT1, 2019 WL 3917575, at *9.

       B.     Publix’s Duties as a Dispenser

       The nature and scope of Publix’s duties as a dispenser were articulated by this

Court in In re Nat’l Prescription Opiate Litig. 2020/CT3. Specifically, there is a corporate-

level obligation to design and implement systems, policies, and procedures to identify

red flag prescriptions, and to maintain records and data regarding its dispensing activity.

477 F. Supp. 3d at 631. Further, with respect to the use of prescription data, Publix may

not “do nothing with their collected data and leave their pharmacist-employees with the

sole responsibility to ensure only proper prescriptions are filled.” Id.

       In Georgia, a medical professional must be registered with the DEA and licensed

by the state in order to write prescriptions for controlled substances. 21 C.F.R. § 1306.03;

GA. CODE ANN. § 16-13-35; GA. CODE ANN. § 16-13-41. Under both the CSA and the GCSA,

a medical professional can write a controlled substance prescription only if they believe,

based on their medical judgment, that the drug is an appropriate form of treatment for a

patient’s medical condition. 21 C.F.R. § 1306.04(a); see GA. CODE ANN. § 16-13-41(f); GA.

COMP. R. & REGS. 480-22-.02(1) (“For a controlled substance prescription drug order to be

legal, it must be issued for a legitimate medical purpose by an authorized individual

practitioner acting in the usual course of his or her professional practice”). A prescription
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that is not for the purpose of treating a patient’s medical condition is an illegitimate

prescription. See 21 C.F.R. § 1306.04(a).

       Under the CSA’s implementing regulations, “[t]he responsibility for the proper

prescribing and dispensing of controlled substances is upon the prescribing practitioner,”

but a “corresponding responsibility” to ensure that only valid prescriptions are filled

“rests with the pharmacist who fills the prescription.” 21 C.F.R. § 1306.04(a).

       Pharmacies have a duty to ensure that this responsibility is being fulfilled by their

pharmacists. In re Nat’l Prescription Opiate Litig. 2020/CT3, 477 F. Supp. 3d at 627. In other

words, “[t]he corresponding responsibility to ensure the dispensing of valid prescriptions

extends to the pharmacy itself.” City & Cnty. of San Francisco v. Purdue Pharma L.P., 620 F.

Supp. 3d 936, 999 (N.D. Cal. 2022), quoting Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos.

219 and 5195, Decision and Order, 77 FR 62316-01, 2012 WL 4832770, at *62341 (Oct. 12,

2012); see also Cherokee Nation v. McKesson Corp., No. CIV-18-056-RAW, 2021 WL 1200093,

at *6 (E.D. Okla. Mar. 29, 2021).

       In ruling on the pharmacy defendants’ motions for judgment as a matter of law

following the jury verdict in Track Three, this Court explained,

       At a minimum, a corporation that employs pharmacists has the legal duty
       to: (1) establish corporate procedures and policies that recognize the
       “corresponding responsibility” of its pharmacists and require its
       pharmacists to adhere to it; (2) supply its pharmacists with the tools
       necessary to enable them to perform their “corresponding responsibility;”
       and (3) develop and utilize a system for monitoring the compliance of its
       pharmacists with their legal duties.

In re Nat’l Prescription Opiate Litig. – MJML/CT3, 589 F. Supp. 3d at 818. See also In re Nat’l

Prescription Opiate Litig. 2020/CT3, 477 F. Supp. 3d at 631; United States v. City Pharmacy,
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LLC, No. 3:16-CV-24, 2017 WL 1405164, at *4 (N.D.W. Va. Apr. 19, 2017); Pharmacy Doctors

Enterprises d/b/a Zion Clinic Pharmacy, Decision and Order, 83 FR 10876-01, 2018 WL

1252035, at 10896 (March 13, 2018).

       The due diligence process involves four steps. The pharmacy must:

           •   accurately identify and document all red flags raised by the
               prescription, patient, and prescriber;
           •   reasonably collect complete, relevant, and accurate information
               concerning each red flag;
           •   independently evaluate the collected information to determine
               whether the evidence is reliable and whether, as a whole, the
               evidence adequately resolves each red flag; and
           •   clearly and explicitly document their evaluation of the evidence and
               their reasoning supporting their judgment to dispense or refuse to
               fill the prescription.97
       The requirement of complete and accurate documentation is set forth in the CSA:

“every registrant … dispensing a controlled substance or substances shall maintain, on a

current basis, a complete and accurate record of each such substance … received, sold,

delivered, or otherwise disposed of by him.” 21 U.S.C. § 827(a)(3). See also 21 C.F.R.

§ 1304.21(a). Documentation is critical for several reasons. First, it is one of the CSA’s

primary means for preventing the diversion of controlled substances. Grider Drug 1 &

Grider Drug 2, 77 FR 44,070, 44,100 (DEA July 26, 2012) (citing Paul H. Volkman, 73 FR

30,630, 30,644 (2008)). DEA enforcement decisions have explained that “a registrant’s

accurate and diligent adherence to [its recordkeeping] obligations is absolutely essential

to protect against the diversion of controlled substances.” Volkman, 73 FR at 30,644. The



97 Ex. 34, P-01353 Catizone Rpt. at 56.

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DEA Pharmacy Handbook emphasizes that “[t]hese records are required to provide

accountability of all controlled substances from the manufacturing process through the

dispensing pharmacy and to the ultimate user.”98

       Second, complete and accurate documentation also gives the pharmacy itself “the

ability to review, audit, and investigate whether red flags are being identified and

appropriately resolved,” in order to satisfy its duty to ensure that the corresponding

responsibility is being fulfilled by its pharmacists.99 Indeed, it is difficult to imagine how

a pharmacy could satisfy its “legal duty to … develop and utilize a system for monitoring

the compliance of its pharmacists with their legal duties,” In re Nat’l Prescription Opiate

Litig.—MJML/CT3, 589 F. Supp. 3d at 818, without a system of complete and accurate

recordkeeping.

       Third, documentation assists pharmacists themselves in fulfilling their

corresponding responsibility by providing explanations as to how red flags were

addressed with respect to particular patients or prescribers. Finally, the content of the

documentation evidences whether the investigation was performed diligently, or

whether any investigation was performed at all—to use Publix’s own words: “Document.

Document. Document. If you don’t document, then there is no proof the conversation,

the consultation, or the clearing of red flags took place.”100




98 Ex. 54, P-41146 at P-4116_00034 (citing 21 CFR 1304.21(a)).

99 Ex. 34, P-01353 Catizone Rpt. at 56.

100 Ex. 52, P-01375 at P-01375_19, PUBLIX-MDLT8-00149649 (Leonard 10; Chavez 16).

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       To prove a violation of the corresponding responsibility, a plaintiff must show that

(1) a pharmacy dispensed a controlled substance, (2) “a red flag was or should have been

recognized at or before the time the controlled substance was dispensed,” and (3) “the

question created by the red flag was not resolved conclusively prior to the dispensing of

the controlled substance.” City & Cnty. of San Francisco v. Purdue Pharma L.P., 620 F. Supp.

3d 936, 999 (N.D. Cal. 2022), quoting Holiday CVS, L.L.C., 77 FR 62316-01, 2012 WL 4832770,

at *62341. Accord In re Nat’l Prescription Opiate Litig. 2020/CT3, 477 F. Supp. 3d at 631; see

Top RX Pharmacy; 78 FR at *26082, 2013 WL 1838477 at *26082 (factors establishing

dispensing violation).

       To be adequate, documentation must clearly explain to other pharmacy employees

or regulators the concerns identified, the information evaluated, and the reasons for

dispensing or refusing to fill the prescription. Comments such as “called doctor,”

“checked PDMP,” or “consulted patient” are insufficient. While such comments evidence

that some investigatory steps may have been taken, they do not satisfy the legal

requirement to completely and accurately document whether each red flag was

conclusively resolved prior to dispensing the controlled substance.101

       C.      Publix’s Duties under the GCSA

       For purposes of the present motion, there are no material differences between the

duties imposed on Publix by the CSA and those imposed by the GCSA. Like the CSA, the

GCSA provides: “Every person who manufactures, distributes, or dispenses any



101 Ex. 45, P-01354 Catizone Specific Rpt. at 19, 45.

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controlled substances within this state or who proposes to engage in the manufacture,

distribution, or dispensing of any controlled substance within this state must obtain

annually a registration issued by the State Board of Pharmacy in accordance with its

rules.” GA. CODE ANN. § 16-13-35(a). The regulations of the State Board of Pharmacy

require “distributors [to] operate in compliance with applicable Federal, State, and local

laws and regulations.” GA. COMP. R. & REGS. 480-7-.03. And the regulations of the Georgia

Board of Pharmacy provide,

      Each registrant shall maintain records of unusual orders of controlled
      substances received by the registrant and shall inform the Office of the
      Director of [GDNA] of unusual orders when discovered by the registrant.
      For purposes of this section, an unusual order shall include orders of greatly
      increased quantity, orders deviating substantially from a normal pattern,
      and orders of highly abnormal frequency.

GA. COMP. R. & REGS. 480-20-.02.

      Like the CSA, the GCSA imposes a corresponding duty on pharmacists: “The

responsibility for the proper prescribing of controlled substances is upon the prescribing

practitioner, but the pharmacist is responsible for the proper filling of the prescription

drug order.” GA. COMP. R. & REGS. 480-22-.02(1) ). Also like the CSA, the GCSA requires

registrants to “keep a complete and accurate record of all controlled substances on hand,

received, manufactured, sold, dispensed, or otherwise disposed of and shall maintain

such records and inventories in conformance with the record-keeping and inventory

requirements of federal law.” GA. CODE ANN. § 16-13-39.




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II.       THERE ARE NO GENUINE ISSUES OF FACT REGARDING PUBLIX’S
          FAILURE TO COMPLY WITH ITS CSA AND GCSA DUTIES

          In In re Nat’l Prescription Opiate Litig. 2019/CT1, this Court denied the plaintiffs’

motion for summary judgment because it found that the Track One defendants had come

forward with sufficient evidence to raise genuine issues of fact regarding whether they

had adequately complied with their CSA duties. 2019 WL 3917575, at *16. In contrast, the

evidence of Publix’s CSA and GCSA violations, both as distributor and dispenser, are so

clear that “the record taken as a whole could not lead a rational trier of fact to find for the

non-moving party.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986).

          Publix has distributed controlled substances into its Cobb County pharmacies

since 2005. The CSA requires distributor registrants such as Publix to identify, investigate,

and not ship suspicious orders, as this Court has previously held. Yet the summary

judgment evidence shows that, prior to 2019, Publix’s “systems” did not even attempt to

identify orders of unusual frequency or pattern, and Publix’s own management stated in

2018 that its system for identifying orders of unusual size “does not work.”

          Faced with this scathing evidentiary record, Publix now contends it is not a

“wholesale distributor” because it only distributed to itself. Two different Publix VPs of

Pharmacy Operations have testified as such.102 When current VP of Pharmacy Operations

Rusk was asked “whether Publix, as an entity, must adhere to the” CSA, he replied, “I



102 Ex. 16, Ottolino Dep. Tr. at 241:4-242:22; Ex. 17, Rusk Dep. Tr. at 54:18-55:13 (“We’re not a

distributor …. we’re not a wholesaler”).
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would certainly have to lean on our legal team to understand specifically that

question.”103 And Pharmacy Operations Manager Lindsay Burkhalter, who was

designated as Publix’s 30(b)(6) corporate witness, testified that she understood

“diversion” to be limited to situations where controlled substances were stolen.104

        Whether this ignorance is real or feigned, it is undisputed that Publix was and is

registered as a distributor with the DEA, the state of Georgia, and every other state to

which it distributes controlled substances, and thus subject to the requirements of the

CSA.105 And as described above, the summary judgment evidence shows that Publix

failed to comply with its distribution-related CSA obligations as a matter of law.

        As for Publix’s dispensing-related duties, the record is equally clear. Publix did

not train its pharmacists on how to identify and resolve “red flag” prescriptions, or how

to document their due diligence efforts. Even a 25-year Publix pharmacist/pharmacy

manager was not aware of the “policy” Publix claimed it adopted in 2012 until it was

shown to her in preparation for her 2023 deposition. Publix failed to put systems in place

that would have allowed its pharmacists to comply with their “corresponding

responsibility” to only fill legitimate prescriptions. And as a result, more than 40% of the

750,000 opioid prescriptions dispensed by Publix pharmacies in Cobb County from 2006

through 2019 had at least one red flag indicative of possible diversion, yet there is

virtually no evidence that due diligence was performed on any of them.



103 Ex. 17, Rusk Dep. Tr. at 48:16-49:10.

104 Ex. 21, Burkhalter 30(b)(6) Dep. Tr. at 93:5-93:7. See also id. at 93:12-94:1.

105 Ex. 18, P-01359, PUBLIX-MDLT8-00056780.

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       Unlike the majority of its competitors, many of whom have reached settlements in

this litigation that included broad injunctive relief specifically related to CSA compliance

(both distribution and dispensing related), based on the documents produced and

testimony elicited to date, it is clear that Publix continues to disregard its CSA

obligations.106 As described above, Publix still does not have a prescriber monitoring

system, there is no centralized method by which Publix can track or notify its pharmacists

of problematic prescribers, and Publix does not have a standard process for when it

receives tips on problematic doctors from local or federal authorities.107 Publix does not

allow for corporate blocks for suspicious prescribers whether they are reported by their

own pharmacists, known to be under investigation by the DEA and/or local authorities

for improper prescribing practices, or even after being disciplined or having had their

DEA licenses revoked for improper controlled substance prescribing.108 Not only did

Publix fail to affirmatively identify suspicious prescribers, even when Publix was made

aware of them – either from its own pharmacists, local authorities, or other registrants –

there was no centralized way for Publix to inform its pharmacists about them.109




106 For a concise but comprehensive overview of Publix’s current (as of the date of her deposition,

August 11, 2023) inadequate dispensing-related policies, see Burkhalter 30(b)(6) Dep. Tr. at 171:18-
176:24.
107 Ex. 15, P-01356, PUBLIX-MDLT8-00078435 (Troughton Ex. 24).

108 Burkhalter 30(b)(6) Dep. Tr. at 175:6-175:14; see also Brice Dep. Tr. at 334:22-335:5.

109 Ex. 26, Brice Dep. Tr. at 335:16-336:12. Publix Cobb and GA dispensing data shows that Publix

continued to fill for Dr. Cynthia Sadler, a physician with a well-known “pill mill,” Kennesaw’s
Pain Express, owned and operated by the infamous George Brothers. Ex. 55, Deposition Excerpts
of Dennis Troughton, 9/14/23, Tr. 287:4-289:1; Ex. 56. P01349 PPLP0024000447374 (Troughton
Ex. 28), Ex. 57, P.01350, CT8-GDNA-071 (Troughton Ex. 30).
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       This evidence establishes as a matter of law that Publix failed to comply with its

dispensing-related CSA duties.

III.   PARTIAL SUMMARY JUDGMENT ON PUBLIX’S COMPLIANCE WITH ITS
       CSA DUTIES WILL STREAMLINE THE TRIAL OF PLAINTIFF’S PUBLIC
       NUISANCE CLAIM

       Partial summary judgment with respect to Publix’s compliance with its CSA duties

will streamline the trial. Because the summary judgment evidence shows as a matter of

law that Publix distributed and dispensed opioids in Cobb County in violation of the

CSA, it would be a waste of trial time to require Plaintiff to present evidence of those

violations.

       This Court has previously reviewed the Georgia law of public nuisance in its

Opinion & Order denying Publix’s motion to dismiss. In re Nat’l Prescription Opiate Litig.,

No. 1:17-MD-2804, 2021 WL 4952468, at *1 (N.D. Ohio Oct. 25, 2021) (Dkt. 4071)(“In re

Nat’l Prescription Opiate Litig.—Publix/CT8”), reconsideration denied, No. 1:17-MD-2804,

2022 WL 228150 (N.D. Ohio Jan. 26, 2022) (Dkt. 4245). The longstanding codification of

Georgia’s public nuisance cause of action provides as follows:

       A nuisance is anything that causes hurt, inconvenience, or damage to
       another and the fact that the act done may otherwise be lawful shall not
       keep it from being a nuisance. The inconvenience complained of shall not be
       fanciful, or such as would affect only one of fastidious taste, but it shall be
       such as would affect an ordinary, reasonable man.

O.C.G.A. § 41-1-1. A “public nuisance is one which damages all persons who come within

the sphere of its operation, though it may vary in its effects on individuals.” Id. § 41-1-2.

As the Georgia Supreme Court has confirmed, the statutory definition of nuisance “was

not intended to change the common-law.” State ex rel Boykin v. Ball Inv. Co., 12 S.E.2d 574,
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578 (Ga. 1940); see Camelot Club Condo. Ass’n v. Afari-Opoku, 798 S.E.2d 241, 250 (Ga. Ct.

App. 2017). And, Georgia courts assessing public nuisance cases have relied on Section

821B of the Restatement (Second) of Torts. See, e.g., City of College Park v. 2600 Camp Creek,

LLC, 666 S.E.2d 607, 608 (Ga. Ct. App. 2008) (“Significant interference with ‘the public

health, the public safety, the public peace, the public comfort or the public convenience’

may support a finding of public nuisance.”) (quoting § 821B(2)(a)); City of Albany v.

Stanford, 815 S.E.2d 322, 328 & n.2 (Ga. Ct. App. 2018) (Gobeil, J., concurring) ( “a public

nuisance claim …. is traditionally recognized as an unreasonable interference ‘with a

right common to the general public’”) (quoting § 821B).

       In In re Nat’l Prescription Opiate Litig.—Publix/CT8, this Court held that allegations

that Publix failed to “comply with their anti-diversion obligations under the CSA”

supported Cobb County’s public nuisance claim. 2021 WL 4952468, at *3. Under Georgia

law, the violation of a statute will support a claim for public nuisance where the violation

affects “the whole community, or a part of the community necessarily brought in contact

therewith.” Forehand v. Moody, 36 S.E.2d 321, 322 (1945); see also Gullatt v. State, 150 S.E.

825, 827 (1929).

       In Boykin, the Georgia Supreme Court held that alleged repeated violations of a

state usury statute did not support a public nuisance claim. However, as this Court

recognized in In re Nat’l Prescription Opiate Litig.—Publix/CT8, that “octogenarian

precedent,” 2021 WL 4952468, at *5, is distinguishable because in that case the impact on

the community was considered by the court to be “‘insufficient’” to support a nuisance


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claim. Id. at *6 (quoting Webb v. Alexander, 43 S.E.2d 668, 671 (Ga. 1947)). Where, as here,

the nature of the harm to the community is more substantial, as it was in the previous

case of Gullatt and the subsequent case of Forehand, a statutory violation will support a

public nuisance claim. As the Georgia cases illustrate, the question is not one of fact;

rather, issue is one of law for the Court. Clearly, given its devastating impact on the

community, the opioid crisis is “sufficient” to support a nuisance claim.

       The CSA provides that, “[e]xcept as authorized by this subchapter, it shall be

unlawful for any person knowingly or intentionally—to manufacture, distribute, or

dispense … a controlled substance.” 21 U.S.C. § 841(a). Thus, all distribution or

dispensing of controlled substances that is not authorized by the CSA is unlawful. The

regulations promulgated pursuant to the CSA define the scope of what the statute

authorizes. See United States v. DeBoer, 966 F.2d 1066, 1068-69 (6th Cir. 1992) (rejecting

challenge to conviction under § 841 based on asserted vagueness of the statute, because

DEA regulation sufficiently defined defendant’s responsibilities); United States v. Vamos,

797 F.2d 1146, 1151 (2d Cir. 1986) (upholding conviction under § 841 based on standards

found in applicable regulations); United States v. Hayes, 595 F.2d 258, 259 (5th Cir. 1979)

(“The purpose of [DEA] regulation is to define the circumstances in which a physician or

pharmacist who is registered to dispense controlled substances may nevertheless be held

to have violated the proscription against manufacturing, distributing or dispensing a

controlled substance contained in 21 U.S.C. § 841); see also United States v. Moore, 423 U.S.

122, 134 (1975) (rejecting argument that “registrants” cannot be prosecuted under § 841).


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Accordingly, it is clear that distribution or dispensing in violation of regulations may

constitute a violation of § 841. Accord, GA. CODE ANN. § 16-13-31 (making the

unauthorized sale of opioids a felony).

       Because a violation of the CSA and the GCSA will support Plaintiff’s claim of

public nuisance, summary judgment that Publix violated its CSA and GCSA duties will

streamline the trial of Plaintiff’s public nuisance claim.

                                      CONCLUSION

       For the foregoing reasons, this Court should grant Plaintiff’s motion for partial

summary judgment and (1) adopt its own prior rulings regarding the nature and scope

of Publix’s duties under the CSA and GCSA, and (2) find as a matter of law that Publix

did not comply with its duties under the CSA and GCSA with respect to the distribution

and dispensing of prescription opioids in Cobb County.




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Dated: April 26, 2024
                                    Respectfully submitted,

                                    /s/ Jayne Conroy
                                    Jayne Conroy
                                    Thomas I. Sheridan, III
                                    Justin Presnel
                                    Sarah Burns
                                    Laura Fitzpatrick
                                    Jo Anna Pollock
                                    Sanford Smokler
                                    SIMMONS HANLY CONROY LLC
                                    112 Madison Avenue
                                    New York, NY 10016
                                    (212) 784-6401
                                    jconroy@simmonsfirm.com
                                    tsheridan@simmonsfirm.com
                                    jpresnel@simmonsfirm.com
                                    sburns@simmonsfirm.com
                                    lfitzpatrick@simmonsfirm.com
                                    jpollock@simmonsfirm.com
                                    ssmokler@simmonsfirm.com


                                    /s/ Erin K. Dickinson
                                    Erin K. Dickinson
                                    Charles J. Crueger
                                    CRUEGER DICKINSON LLC
                                    4532 N Oakland Avenue
                                    Whitefish Bay, WI 53211
                                    (414) 210-3868
                                    cjc@cruegerdickinson.com
                                    ekd@cruegerdickinson.com

                                    Cobb County Attorney’s Office

                                    /s/ H. William Rowling, Jr.
                                    H. William Rowling, Jr.
                                    County Attorney
                                    State Bar No.: 617225
                                    H.William.Rowling@cobbcounty.org
                                    Lauren S. Bruce

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                                       Assistant County Attorney
                                       State Bar No.: 796642
                                       Lauren.Bruce@cobbcounty.org

                                       100 Cherokee Street, Suite 350
                                       Marietta, Georgia, 30090
                                       Tel. No.: (770) 528-4000
                                       Fax. No.: (770) 528-4010

                                       Counsel for Cobb County, GA



                            CERTIFICATE OF SERVICE

      I hereby certify that on April 26, 2024, I caused the foregoing to be served via

electronic mail on Defendants via Tracks6to10Defendants@bbhps.com.

                                       /s/ Jayne Conroy
                                       Jayne Conroy




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